Case 2:05-Cr-20252-BE;5 Document 23 Filed 07/20/05 Page 1 of 2 Page|D 25

IN THE UNrrED sTATEs DIsTRICT COURT F`“-"`~"`D }"q’~l%~~ D-C.
FoR THE WESTERN DrsTRrCT oF TENNEssEE

 

  

 

WEsTERN DIVIsION 95 ~'Uf~ 29 AH H= 25
UNITED sTATEs oF AMERICA CL§“:’\{§§" HCSJUHT
V- 05-20252-01-1)
CECELIA HARRIS _
oRDER 0N ARRAIGNMENT

 

This cause came to be heard on Q/¢{,AM ¢>'~.70', §90§ , the United States Attorney
for this district appeared on behalf of the gcfernmel# and the defendant appeared in person and With
counsel:

NAME_H_¢_L~J(/MMMH \I/“L‘ /)Z’K W%ho is Retained/Appointed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

 

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shcyto a District Judge, such period is extended

The defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held Without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

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441/un /< ZJJW/"
UNIT r) sTA'rEs MAGISTRATE JUDGE

U. S. Attomey assigned to Case: C. McMullen

Age: 2 2

 

 

CHARGES: 1811343 & 2;

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, 55 and/or 32(b) FHCrP on

   

UNITED sATE DISTRICT COURT - WTERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 23 in
case 2:05-CR-20252 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

